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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11    MICHAEL R. SPENGLER,          )        Case No. CV 18-6172-DOC (SP)
 12                                  )
                      Plaintiff,     )
 13                                  )        ORDER ACCEPTING FINDINGS AND
                  v.                 )        RECOMMENDATION OF UNITED
 14                                  )        STATES MAGISTRATE JUDGE
       NIKOLAY T. TEOPHILOV, et al., )
 15                                  )
                      Defendants.    )
 16                                  )
                                     )
 17
 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, records
 19 on file, and the Report and Recommendation of the United States Magistrate Judge.
 20 Plaintiff has not filed any written Objections to the Report within the time permitted.
 21 The Court accepts the findings and recommendation of the Magistrate Judge.
 22         IT IS THEREFORE ORDERED that defendant Nikolay Teophilov’s Motion
 23 for Judgment on the Pleadings (docket no. 54) is granted, and Judgment will be
 24 entered dismissing this action with prejudice and without leave to amend.
 25
 26 DATED: November 9, 2020                       ______________________________
                                                  HONORABLE DAVID O. CARTER
 27                                               UNITED STATES DISTRICT JUDGE
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